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                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                            CASE NO. 23-23576-CV-SINGHAL


   XYZ CORPORATION,

   Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND
   UNINCORPORATED ASSOCIATIONS IDENTIFIED
   ON SCHEDULE “A”,

   Defendants.
   _______________________________________________/
        NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY

          PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by

  undersigned counsel, Plaintiff hereby voluntarily dismisses with prejudice all claims against

  the following Defendants:

                 Defendant No.         Store Name as Identified on Schedule A
                      42                           xiaogaistore
                      58                           phenomenres
                      54                              Shardnn
                      95                       Xuanzhuo Department
                       9                              Thooke
                      20                              UMIUS
                      53                          Argent Directe
                      70                             MuR-Fun
                       3                              J-Three
                      59                             Inkeltech

  Respectfully submitted on this 1st day of March, 2024.

                                               LAW FIRM OF RUBIO & ASSOCIATES, P.A.
                                               Attorneys for Plaintiff
                                               8950 SW 74 Ct., Suite 1804

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                                     By:/s/ Humberto Rubio
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                                     Florida Bar No. 36433
                                     Felipe Rubio, Esq.
                                     Florida Bar No. 123059




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